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                    12
                                                  IN THE UNITED STATES DISTRICT COURT
                    13
                                                        WESTERN DISTRICT OF TEXAS
                    14
                         UNITED STATES OF AMERICA ex rel.                CASE NO.
                    15   TIFFANY MONTCRIEFF, ROBERTA
                         MARTINEZ, and ALICIA BURNETT,                   COMPLAINT FOR MONEY DAMAGES
                    16                                                   AND CIVIL PENALTIES FOR
                                        Plaintiffs,                      VIOLATIONS OF THE FALSE CLAIMS
                    17                                                   ACT
                                 V.
                    18
                         PERIPHERAL VASCULAR ASSOCIATES,
                    19   P.A.                                                  DEMAND FOR JURY TRIAL
                    20                  Defendant.
                    21

                    22

                    23                                [FILED IN CAMERA AND UNDER SEAL

                    24                                 PURSUANT TO 31 U.S.C. § 3730(b)(2)J

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                                  I   I.             INTRODUCTION
                                                         1.        Relators Tiffany Montcrieff, Roberta Martinez, and Alicia Burnett (collectively,

                              I
                                      "Relators") bring this action on behalf of the United States to recover losses sustained by the

                                      Medicare Program as a result of the operations of Defendant Peripheral Vascular Associates, P.A.

                              I
                                      (PVA). Over the course of at least the last five years, PVA has defrauded the government by

                                      systematically charging Medicare for incomplete and unnecessary ultrasound studies.

                                                     2.            Specifically, PVA often bills for ultrasounds for which either a final report has not
                                      been completed or both a preliminary and final report have not been completed. In doing so, PVA

                                      is effectively billing for services which have not been rendered.

                     10                              3.            PVA also frequently orders ultrasounds for a patient before that patient has been

                     11               seen by a doctor and the doctor has determined whether an ultrasound is necessary and what kind

                    12            should be performed. As a result, PVA has ordered thousands of unnecessary ultrasounds.

                    13            II.               JURISDICTION AND VENUE
                    14                              4.            This Court has jurisdiction over the claims raised in this complaint under 28 U.S.C.

                    15            § 1331            as they arise under Federal law. This Court also has jurisdiction over this action pursuant

                    16            to 31 U.S.C.                §   3732, which confers jurisdiction for claims brought under the False Claims Act on

                    17            the District Courts of the United States.

                    18                              5.            Venue is proper pursuant to 31 U.S.C.   § 3 732(a), as   Defendant transacts business in
                    19    I
                              this district.

                    20        III.                  PARTIES
                    21                              6.            The Plaintiff in this action is the United States of America (United States) by and

                    22        through Relators Tiffany Montcrieff, Roberta Martinez, and Alicia Burnett.

                    23                              7.            Relator Tiffany Montcrieff is a registered cardiovascular sonographer. She worked
                    24        at PVA from March 2016 through November 2016. Montrcrieff is an original source of the

                    25        information contained herein. Montcrieff voluntarily provided the Government with the

                    26        information contained herein before bringing this action.

                    27                              8.            Relator Martinez is a registered vascular technologist. She was a sonographer at

                    28        PVA from March 9, 2015 until she was wrongfully terminated on September 2, 2016, after she
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                               alerted her supervisors to the fraudulent scheme alleged herein. Martinez is an original source of

                               the information contained herein. Martinez voluntarily provided the Government with the

                               information contained herein before bringing this action.

                                               9.    Relator Alicia Burnett is a registered vascular technician. She has been employed

                           I
                               by PVA since January 2015. Burnett voluntarily provided the Government with the information

                           I
                               contained herein before bringing this action.

                                               10.   Defendant PVA is a Texas corporation which conducts business in Texas.
                       8       According to PVA's website, it has 20 locations in Texas and has become the largest single

                       9       specialty vascular surgery groups in the state. PVA offers a range of services to treat and diagnose

                      10       peripheral vascular disease.1 Each of its clinics provide a full range of vascular testing services
                      11       through its vascular ultrasound laboratories. PVA also contracts to provide services with various
                      12       hospitals in Texas.
                      13       IV.             OVERVIEW OF THE SCHEME
                      14                       A.    THE UNITED STATES MEDICARE SYSTEM
                      15                       11.   Medicare is a federally-funded health care program that provides medical insurance
                      16       coverage to qualified residents of the United States who are aged 65 and older, younger people
                      17       with permanent or congenital disabilities, or those who meet other special criteria like the End
                      18       Stage Renal Disease program. The vast majority of Medicare's costs are paid by United States
                      19       citizens through their taxes. Medicare pays for medical expenses, such as doctor visits, hospital
                      20       stays, and as pertinent to this case, ultrasounds.

                      21                       12.   Title XVII of the Social Security Act establishes the Medicare Program

                      22       (technically, the "Health Insurance for the Aged and Disabled Program"). See 42 U.S.C.                          §   1397   et


                      23       seq.


                      24                       13.   The United States provides reimbursement for Medicare claims from the Medicare

                      25       Trust Funds through the Centers for Medicare & Medicaid Services ("CMS"), which is the
                      26       operating division of the United States Department of Health & Human Services ("HHS"). CMS,

                      27                  Peripheral vascular disease or peripheral arterial disease is a slow and progressive circulation disorder. It
                               may involve disease in any of the blood vessels outside of the heart and diseases of the lymph vessels - the arteries,
                      28       veins, or lymphatic vessels. Organs supplied by these vessels such as the brain, heart, and legs, may not receive
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                             in turn, contracts out to Medicare Administrative Contractors ("MACs"), also known as carriers, to

                     2       review, approve, and pay Medicare claims received from healthcare providers like PVA.

                     3                       14.   Medicare payments are typically made directly to healthcare providers rather than
                     4       the patient, as Medicare recipients routinely assign their right to payment to the healtheare
                     5   I
                             provider, such as PVA. Once a Medicare recipient assigns their right to payment to a provider, the

                     6   I
                             provider then submits its bill directly to Medicare for payment
                    .7                       15.   To bill Medicare, a provider must submit an electronic or hard-copy claim form

                     8       called a CMS-1500 form. When submitting the form, the provider must certify that the services in
                     9       question were "medically indicated and necessary for the health of the patient."
                    10                       16.   The CMS-1500 form requires the provider to state, among other things, the
                    11       procedure(s) for which it is billing Medicare, the provider number, the identity of the patient, and a
                    12       short narrative explaining the diagnosis and the medical necessity of services that the provider
                    13   I   rendered.
                    14                       17.   All healthcare providers, including PVA, must comply with all applicable statutes,
                    15       regulations, and guidelines in order to be reimbursed by Medicare. Providers have a duty to have
                    16       knowledge of the relevant statutes, regulations, and guidelines regarding coverage for Medicare
                    17   I   services.

                    18                       18.   For example, Medicare reimburses only reasonable and necessary medical services
                    19       furnished to beneficiaries and excludes from payment services that are not reasonable and
                    20       necessary. See 42 U.S.C.         §   1395y(a)(l)(A); see also 42 C.F.R.   §   411.115(k). Providers must also
                    21       assure that they provide medical services to Medicare recipients "economically and only when,
                    22       and to the extent, medically necessary." 42 U.S.C.         §   1320c-5(a)(1).
                    23                       19.   Because it is not realistically feasible to review medical documentation before
                    24       paying each claim, MACs generally make payment under Medicare based on the providers'
                    25       certification on the Medicare claim form that the services in question were "medically indicated
                    26       and necessary for the health of the patient."

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                                          B.    ULTASOUND IMAGING
                                          20.   Ultrasound imaging is a non-invasive test that uses sound waves to produce pictures
                             of the inside of the body. Doppler ultrasound can be used to diagnose peripheral vascular disease.
                             It can depict blood flow by bouncing high-frequency sound waves off of red blood cells to create

                             images of blood vessels, tissues, and organs. Faintness or absence of sound may indicate an

                             obstruction of blood flow. Additionally, Doppler ultrasound can detect abnormal blood flow

                         within a vessel, which can indicate a blockage caused by a blood clot, plaque, or inflammation.

                     8                    21.   Medicare covers imaging services, including ultrasound and Doppler imaging that

                     9   are performed or supervised by a physician who is certified by the American Board of Radiology

                    10   or for whom radiology services account for at least 50 percent of the total amount of charges under

                    11   Medicare.

                    12                    22.   Imaging services are billed under Medicare Part B to Medicare Carriers and MACs

                    13   using acceptable Healthcare Common Procedure Coding System (HCPCS) codes for imaging and

                    14   other diagnostic services taken primarily from the Current Procedural Terminology (CPT). CPT

                    15   Codes correspond to an lCD' 10 diagnostic code, which classifies a disease or condition. Imaging

                    16   services are generally paid based on the lower of the charge or the Medicare Physician Fee

                    17   Schedule (MPFS) amount.

                    18                    23.   Generally, imaging services are split into a professional component and a technical

                    19   component, each separately billable to the local Medicare contractor. The professional component

                    20   is performed by the physician, and may include supervision, interpretation, and a written report.

                    21   The technical component of a service includes the provision of all equipment, supplies, personnel,

                    22   and costs related to the performance of the exam.

                    23                    24.   To claim only the technical component of a service, service providers must append

                    24   the modifier "TC", to the appropriate CPT code when billing for a service.

                    25                    25.   Under the relevant regulations, Medicare carriers pay service providers for

                    26   interpretations of imaging, such as ultrasound procedures, only if there is a written report prepared

                    27   for inclusion in the patient's medical record maintained by the service provider. 42 C.F.R.                §

                    28   I
                          The International Classification of Diseases 10 Codes (lCD 10 Codes) are a set of medical diagnostic codes which
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                         describe an injury or disease.
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                         I           4 15.120, subd. (a). Additionally, the services must contribute directly to the diagnosis or treatment

                         2           of an individual beneficiary.     Ibid;   42   C.F.R.   §   415.102. subd. (a)(2).
                         3                        C.    PVA'S ILLICIT BILLING PRACTICES
                         4                        26.   Over the last several years, PVA has engaged in a pattern and practice of
                         5           fraudulently billing Medicare for sonography reports. PVA often bills for incomplete reports.
                         6           These reports are billed before they are interpreted and signed by a credentialed physician or
                         7       I
                                     alternatively, before a sonographer even has the opportunity to complete a preliminary report.
                         8           PVA also frequently orders an ultrasound                and then later bills for that ultrasound   -   before a
                     9               doctor has seen the patient and determined whether an ultrasound is necessary or what kind should
                     10              be performed.
                    11                            27.   PVA employs about 40 sonographers across all PVA locations and contracted
                    12               hospitals, and its staff generates approximately 6,000 to 7,000 ultrasound studies each month. A
                    13               significant number of these reports are incomplete when they are billed. Moreover, about 75
                    14               percent to 85 percent of PVA's patients are over the age of 65, and most of these patients are on
                    15               Medicare.
                    16                            28.   In the appropriate process, a patient's primary care physician (PCP) refers the
                    17       I
                                     patient to PVA and the patient is designated as "scheduled" in MedStreaming, PVA' s workflow
                    18               and clinical data management tool. Next, the patient has an initial appointment with a doctor at
                    19               PVA, and the doctor orders the appropriate and necessary tests. The sonographer then performs
                    20           the tests and, once the images are captured in MedStreaming, the patient's status is designated as
                    21           "Acquired" in the system. The status is changed to "Ready" after a sonographer begins a
                    22           preliminary report, but before that report is finished. Once the sonographer completes a
                    23           preliminary report and the information is sent to the physician, the patient's MedStreaming status
                    24           changes to "QA." At this point, the technical component can be billed and the doctor is alerted
                    25           that the study and images are ready for his or her review. Finally, a doctor reviews the preliminary
                    26           report, including the images, and interprets the study. After the doctor's review is complete, the
                    27           MedStreaming status becomes "Final," and the professional component can be billed.
                    28
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                                             29.   PVA, however, regularly fails to follow this procedure, resulting in improper

                     2   I
                             charges to Medicare. PVA frequently bills Medicare for both the professional and technical
                     3       components, even though a patient's status is "Acquired," Ready," or "QA" and the professional
                     4   I
                             component is never completed. In these cases, PVA submits a bill to Medicare for its services
                     5       after a sonographer completes a preliminary report, but before a doctor has seen the report,
                     6       reviewed the patient's images, or interpreted or provided an independent assessment of the results.
                     7       In most if not all      of these cases, the professional component is never completed, even though PVA
                     8       is billing for it. Relators personally witnessed this very situation on a number of occasions during

                     9       their employment at PVA when they were checking patients' status on MedStreaming.
                    10                       30.   Moreover, in the absence of a final report, doctors would sometimes ask Relators
                    11       about preliminary ultrasound results or rely on the preliminary report drafted by Relators, without
                    12       looking at the images themselves. Thus, the medical providers did not provide an independent
                    13       assessment of the images. Patients are often told to come back to PVA for a new ultrasound every
                    14       six months, even though a final professional assessment with a final report for a prior ultrasound

                    15       has not been completed.

                    16                       31.   In other cases, PVA bills Medicare for both the technical and professional

                    17       components before either is completed. In these instances, PVA bills Medicare after an ultrasound
                    18       has been taken but before the sonographer has even completed a preliminary report. Thus, the bill
                    19       is submitted while the patient's status remains "Ready" in MedStreaming. Medicare is billed even

                    20       though there has been absolutely no analysis of the patient's imaging.
                    21                       32.   Relators also witnessed incidents where PVA billed for imaging that was never
                    22       completed due to technical errors. For example, sometimes a doctor would reject a preliminary
                    23       report and send it back to a technician to fix, but PVA would nonetheless bill for the study.
                    24       Likewise, PVA would also bill when ultrasound equipment failed and prevented images from

                    25       uploading onto MedStreaming.
                    26                       33.   PVA also has a practice of ordering unnecessary ultrasounds. In these cases, PVA
                    27       orders an ultrasound after a patient has been referred by a PCP, but before the patient has been
                    28       evaluated by a PVA doctor. In other words, tests are ordered before the PVA doctor has seen the
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                             patient and determined what tests are necessary and appropriate. As a result, these initial

                             ultrasounds are unnecessary and generally provide no useful information. Moreover, PVA doctors

                             are often unaware that these initial ultrasounds have been taken, and thus will not look at them

                             before ordering subsequent ultrasounds.

                                              34.   Relator Tiffany Montcrieff personally witnessed a number of fraudulent ultrasound

                             orders that were purportedly filed by heron behalf of a doctor. In fact, Montcrieff did not file

                     7       these orders and had no knowledge of their existence until she discovered them on MedStreaming.
                     8                        35.   PVA typically bills $400 to $500 for per ultrasound, although the reimbursement

                     9       rates of each ultrasound can vary widely. The technical component is generally priced at about

                    10       $400, while the professional component generally is capped about $50.
                    11                        36.   On information and belief, this scheme began in or around 2012, when Barbara

                    12       Burrow was appointed Technical Director for PVA. Burrow pushed staff to complete more studies
                    13       to increase PVA' s billings and drive up its revenue. Normally, a sonographer completes an

                    14       average of roughly eight studies per day. At PVA, sonographers are expected to average

                    15       approximately 10 to 20 studies per day.
                    16                        37.   PVA staff have also been instructed to bill within 24 hours of imaging, even though
                    17       it is often impossible to complete the technical and professional components within this period. It

                    18       is common knowledge at PVA that there is a long backlog of reports that need to be finished.

                    19       Sometimes, up to 70 studies still need finished reports.

                    20                        38.   PVA and its agents, including Burrow, are and have been aware for years of the

                    21   I
                             aforementioned false billing and reporting practices and have knowingly permitted such wrongful
                    22       practices to continue.
                    23       V.               EVIDENCE OF THE SCHEME
                    24                        39.   The following table provides examples of instances in which PVA billed for

                    25       incomplete sonography studies. For each instance, the table provides the date the image was taken

                    26       (date of service), the type of image taken (test type), the CPT code for the patient's condition (CPT
                    27       Code), the status of the report in MedStreaming after the test was billed to Medicare
                    28       (MedStreaming Status), the amount paid by Medicare, and the payment date.
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                    I                    Date of         Test Type      CPT Code    MedStreaming       Amount         Payment
                                         Service                                       Status          Paid by          Date
                    2                                                                                  Medicare
                                  Oct. 18, 2016        LE Arterial     93922        Scheduled          $65.79      Nov. 3,2016
                    3
                                                       Segmental                    (as of Nov. 3,
                                                       Pressure                     2016)
                    4
                                  Apr. 13, 2016        Dialysis                     Ready              $85.32      Apr. 29, 2016
                    5
                                                       Fistula                      (as of Oct. 3,     $53.83      Apr. 29, 2016
                                                                                    2016)              $54.93      May 24, 2016
                    6             Sep. 11,2015         LE Arterial    93922         Acquired           $65.06      Oct. 1,2015
                                                       Segmental                    (as of Oct. 5,     $16.85      Oct. 21, 2015
                    7                                  Pressure                     2016)              (Tricare)
                                  Oct. 18, 2016        Hemodialysis   93990         Acquired           $54.93      Nov. 3, 2016
                    8                                  Access Scan                  (as of Nov. 3,
                                                                                    2016)
                    9             Jan. 20, 2016        Dialysis       93990         Acquired           $85.32      Feb. 5, 2016
                                                       Fistula,                     (as of Sep. 13,
                   10                                  Hemodialysis                 2016)
                                                       Access Scan
                   11
                                  Feb. 2, 2016         UE             93990         Scheduled          $119.99     Mar. 14, 2016
                   12
                                                       Segmental                    (as of Oct. 3,
                                                       with Digit                   2016)
                   13

                                         40.   The following table provides examples of studies performed by Relator Martinez in
                   14
                         August 2016, but which remained incomplete as February 2017. On information and belief, and
                   15
                         based on PVA's billing protocols, PVA billed for these studies days after they were performed by
                   16
                         Martinez.
                   17

                   18
                                                   Date of Service      Test Type     Location of      Status as of
                   19                                                                   Study         February 2017
                                                   August 25, 2016    LE Arterial   Southwest         Scheduled
                   20                                                 Duplex Scan   Practice
                                                   August 25, 2016    Stent         Southwest         Scheduled
                   21                                                               Practice

                   22                              August 25, 2016    LE Arterial   Southwest         Scheduled
                                                                      Duplex Scan   Practice
                   23

                   24                              August 25, 2016    Stent         Southwest         Scheduled
                                                                                    Practice
                   25                              August 24, 2016    LE Arterial   Downtown          Scheduled
                                                                      Duplex Scan   Practice
                   26                              August 25, 2016    Stent         Metro Practice    Scheduled
                                                   August 25, 2016    LE Arterial   Metro Practice    Scheduled
                   27                                                 Duplex Scan
                                                   August 22, 2016    Stent         Downtown          Scheduled
                   28                                                               Practice
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                                               August 29, 2016    LE Arterial      Downtown          Ready
                                                                  Segmental        Practice
                   2                                              Pressure
                                               August 25, 2016    LE Arterial      Southwest         Ready
                   3
                                                                  Segmental        Practice
                   4                                              Pressure
                                               August 25, 2016    LE Arterial      Southwest         Ready
                   5                                              Segmental        Practice
                                                                  Pressure
                   6                           August 24, 2016    LE Arterial      Downtown          Ready
                                                                  Segmental        Practice
                   7                                              Pressure
                                               August 24, 2016    LE Arterial      Downtown         Ready
                   8                                              Segmental        Practice
                                                                  Pressure
                   9                           August 23, 2016    LE Arterial      Downtown         Ready
                                                                  Segmental        Practice
                  10                                              Pressure
                                               August 23, 2016    Graft            Downtown         Ready
                                                                  Compression      Practice
                  12
                                               August 25, 2016    LE Arterial      Metro Practice   Ready
                                                                  Segmental
                  13                                              Pressure
                                               August 22, 2016    LE Arterial      Downtown         Ready
                  14                                              Segmental        Practice
                                                                  Pressure
                  15

                  16
                                        41.   Relators have also observed a number of instances where PVA performed imaging
                  17
                        on a patient before that patient was able to see a doctor at the practice. For example, PVA's
                  18
                        records show that imaging was ordered for and conducted on a patient at around 12:30 pm on
                  19
                        September 1, 2016. But that patient did not undergo a physical exam or see a PVA doctor until
                  20
                        later in the day. Likewise, imaging of another patient was taken on September 29, 2016, but the
                  21
                        patient did not see a doctor until the following day.
                  22
                        VI.             CAUSES OF ACTION
                  23
                                                                 FIRST CAUSE OF ACTION
                  24
                                                                 On Behalf of the United States
                  25
                                                     Federal False Claims Act, Presenting False Claims
                  26
                                                                   31 U.S.C. § 3729(a)(1)(A)
                  27
                                        42.   Plaintiffs incorporate herein by reference and reallege the allegations stated in
                  28
                        Paragraphs 26 through 41, inclusive, of this Complaint.
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                                             43.      PVA knowingly (as defined in 31 U.S.C.        §   3729(b)(1)) presented or caused to be

                       2    presented false claims for payment or approval to an officer or employee of the United States.
                       3                     44.      PVA knowingly presented false records and statements, including but not limited to

                       4    claims, bills, invoices, requests for reimbursement, and records of services, in order to obtain

                       5    payment or approval of charges by the Medicare program for radiology that had not been rendered
                       6    or were not in fact completed.
                       7                     45.      The conduct of PVA violated 31 U.S.C.     §   3729(a)(1)(A) and was a substantial

                       8    factor in causing the United States to sustain damages in an amount according to proof.
                       9                                                SECOND CAUSE OF ACTION
                      10                                                 On Behalf of the United States
                      11                           Federal False Claims Act, Making or Using False Records or Statements
                      12                                      Material to Payment or Approval of False Claims
                      13                                                    31 U.S.C. § 3729(a)(1)(B)
                      14                     46.      Plaintiffs incorporate herein by reference and reallege the allegations stated in
                      15    Paragraphs 26 through 41, inclusive, of this Complaint.

                      16                     47.      PVA knowingly (as defined in 31 U.S.C.        §   3729(b)(l)) made, used, or caused to be
                      17    made or used false records or statements material to false or fraudulent claims.

                      18                     48.      PVA knowingly made, used, and/or caused to be made and used false records and
                      19    statements, including but not limited to claims, bills, invoices, requests for reimbursement, and
                      20    records of services, that were material to the payment or approval of charges by the Medicare

                      21    program for radiology services that were not rendered or were never completed.
                      22                     49.      The conduct of PVA violated 31 U.S.C.     §   3729(a)(1)(B) and was a substantial
                      23    factor in causing the United States to sustain damages in an amount according to proof.
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                                                                   THIRD CAUSE OF ACTION
                     2                                                  (In the Alternative)
                     3                                             On Behalf of the United States
                     4                        Federal False Claims Act, Retention of Proceeds to Which Not Entitled
                     5                                               31 U.S.C. § 3729(a)(1)(G)

                     6                  50.     Plaintiffs incorporate herein by reference and reallege the allegations stated in

                     7    Paragraphs 26 through 41, inclusive, of this Complaint.

                     8                  51.     In the alternative, PVA knowingly made, used, or caused to be made or used, a false

                     9    record or statement material to an obligation to pay or transmit money or property to the

                    10    Government, or knowingly concealed or knowingly and improperly avoided or decreased an

                    11    obligation to pay or transmit money or property to the Government.

                    12                  52.     As discussed above, PVA received far more money from the Medicare programs

                    13    than it was entitled to. PVA knew that it had received more money than it was entitled to, and

                    14    avoided is obligation to return the excess money to the Government.

                    15                  53.     The conduct of PVA violated 31 U.S.C.     §   3729(a)(1)(G) and was a substantial

                    16    factor in causing the United States to sustain damages in an amount according to proof.

                    17    VII.          PRAYER FOR RELIEF
                    18                  WHEREFORE, Plaintiff, by and through the Relators, prays judgment in its
                    19    favor and against Defendants as follows:
                    20                  1.      That judgment be entered in favor of Plaintiff UNITED STATES OF AMERICA ex
                    21    rel.   TIFFANY MONTCRIEFF, ROBERTA MARTINEZ, and ALICIA BURNETT, and against
                    22    Defendant PERIPHERAL VASCULAR ASSOCIATES, P.A., according to proof, as follows:
                    23                          a.     On the First Cause of Action (Presenting False Claims     (31 U.S.C. §


                    24    3729(a)(1)(A))) damages as provided by 31 U.S.C.           §   3729(a)(1), in the amount of:

                    25                                 i.      Triple the amount of damages sustained by the Government;
                    26                                 ii.     Civil penalties of Ten Thousand Dollars ($10,000.00) for each false

                    27                                         claim;

                    28                                 iii.    Recovery of costs, attorney's fees, and expenses;
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                                                       iv.    Pre- and post-judgment interest;
                     2                                v.      Such other and further relief as the Court deems just and proper.
                     3                        b.      On the Second Cause of Action (False Claims Act; Making or Using False
                     4    Records or Statements Material to Payment or Approval of False Claims (31 U.S.C. §
                     5    3729(a)(1)(B))) damages as provided by 31 U.S.C.           §   3729(a)(1) in the amount of:
                     6                                i.      Triple the amount of damages sustained by the Government;
                     7                                ii.     Civil penalties of Ten Thousand Dollars ($10,000.00) for each false
                     8                                       claim;
                     9                                iii.   Recovery of costs, attorney's fees, and expenses;
                    10                                iv.    Pre- and post-judgment interest;
                    11                                v.     Such other and further relief as the Court deems just and proper.
                    12                        c.      On the Third Cause of Action (Federal False Claims Act, Retention of
                    13    Proceeds to Which Not Entitled (31 U.S.C.         §   3729(a)(1)(G))) damages as provided by 31 U.S.C.   §
                    14    3729(a)(1) in the amount of:
                    15                                i.     Triple the amount of damages sustained by the Government;
                    16                                ii.    Civil penalties of Eleven Thousand Dollars ($11,000.00) for each
                    17                                       false claim;
                    18                                iii.   Recovery of costs, attorney's fees, and expenses;
                    19                                iv.    Pre- and post-judgment interest;
                    20                               v.      Such other and further relief as the Court deems just and proper.
                    21                   2.   Further, Relators, on their own behalf, request that they receive such maximum
                    22    amount as permitted by law, of the proceeds of this action or settlement of this action collected by
                    23    Plaintiff, plus an amount for their reasonable expenses incurred, plus reasonable attorney's fees
                    24    and costs of this action. Relators request that their percentage be based upon the total value

                    25    recovered, including any amounts received from individuals or entities not parties to this action.
                    26                   3.   That Relators be awarded all costs of this action, including attorney's fees and
                    27   expenses; and
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                                       4.   That Relators recover such other and further relief as the Court deems just and
                       2    proper.
                       3

                            Dated: April 11, 2017                 BRYLAK & ASSOCIATES
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                   6                                              By:
                                                                         WALLACE M BRYLAK JR.
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                                                                  COTCHETT, PITRE & McCARTHY LLP
                   9                                                     NIALL P. McCARTHY
                                                                         JUSTIN T. BERGER
                  10                                                     ADAM M. SHAPIRO
                  II

                                                                  Attorneys for Relators
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                  13
                                       JURY DEMAND

                  14                   PLAiNTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE

                  15       Dated: April 11, 2017                  BRYLAK & ASSOCIATES
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                                                                 By:___  WALLACE M BRYLAK JR.


                                                                 COTCHETT, PITRE & McCARTHY LLP
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                                                                         NIALL P. McCARTHY
                  21                                                     JUST1N T. BERGER
                                                                         ADAM M. SHAPIRO
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                  23                                             Attorneys for Relators
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